Case 3:19-cv-02281-K Document 107-2 Filed 05/13/22                Page 1 of 1 PageID 1027



                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


  FEDERAL TRADE COMMISSION,                              Case No. 3:19-cv-02281-K

        Plaintiff,                                       [Proposed] Order Granting Plaintiff
                                                         Federal Trade Commission’s
        v.                                               Motion To Amend Its Complaint
                                                         And Add Defendant
  MATCH GROUP, INC., a corporation,

          Defendant.



      Having considered Plaintiff Federal Trade Commission’s (“FTC”) Motion to Amend Its

Complaint And Add Defendant (the “Motion”), it is hereby ORDERED that:

      1. the Motion is GRANTED.

      2. the FTC may amend its complaint; and

      3. the clerk shall file the FTC’s “First Amended Complaint For Permanent Injunction,

          Monetary Relief, Civil Penalties, And Other Relief,” attached to its motion.

      IT IS SO ORDERED.

      Dated: ________________                      _____________________________

                                                   Honorable Ed Kinkeade
                                                   United States District Judge




                                               1
